      Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 1 of 45




               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA,
                       STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN, }
                          }
    Plaintiff,          }
                          }
vs .    )       Case                  No . CV605-04 3
                          }
CITIFINANCIAL AUTO, }
LTD .,              }
                          }
    Defendant .           }

                 PLAINTIFF'S REPLY TO RESPONSE TO
               MOTION FOR PARTIAL SUMMARY JUDGMEN T

Background . The creditor repossessed a car from Ms . Eden .

Georgia law requires certain post-repossession notices . She

claims that it did not give these notices . Its records say,

"letter sent 12/4 was returned destroyed may need to be recre-

ated if nec ." Ms . Eden sued for, among other things, statutory

damages under the Motor Vehicle Sales Finance Act and the Unif-

orm Commercial Code . The creditor counterclaimed for a defic-

iency . Ms . Eden moved for partial summary judgment on these

two claims and on the creditor's counterclaim . The creditor

responded with a motion for summary judgment on all issues .

The response to the issues raised in Ms . Eden's motion wa s

(1) that a post-repossession notice was sent by certified mail,

(2) that the violation was not "willful" so that statutory dam-

ages cannot be assessed under the Motor Vehicle Sales Finance

Act, (3) that a repossession is not a "transaction" under the

Motor Vehicle Sales Finance Act, (4) that the failure to give

post-repossession notice does not activate the civil remedy un-
         Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 2 of 45




der the Motor Vehicle Sales Finance Act, and (5) that a one-

year limitation for usury time-bars the claims .

           Ms . Eden's motion for partial summary judgment is ready

for adjudication .

           Ms . Eden replies here only to the creditor' s response

to her motion for partial summary judgment . She does not here

respond to the creditor's motion for summary judgment . That

response is not yet due .

(1)    Evidence of notice .   Evidence "that it was never received"

is evidence that notice under the Motor Vehicle Sales Finance

Act was not mailed .      Pitts vs .    Bank South Corp . , 209 Ga . App .

124, 433 S .E . 2d 96, 97 (1993) .

           In the absence of admissible evidence that notice was

mailed, evidence that notice was not received establishes con-

clusively that notice was not mailed . Ms . Eden testified that

she did not receive notice . This evidence is not disputed .

(Doc . 28, ¶f 7 - 11, pp . 14, 15 ; Lynette Eden deposition, p .

72, 1 . 22 - p . 73, 1 . 20, Exhibit 8) .

           CitiFinancial does not have a receipt or any other doc-

umentation from the United States Postal Service which would

prove the deposit of certified mail . Its only proffer that

notice was posted is an affidavit from an employee in Colorado,

but the notice was allegedly sent from an office in Charlotte,

North Carolina . (Doc . 32, Affidavit of Thomas Jacobs, Exhibi t

E) .



                                       -2-
      Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 3 of 45




        The proffer in its entirety says ,

        The next day, December 4, 2003, in compliance with
        O .C .G .A . §§ 11-9-611 and 10-1-36, CitiFinancial
        sent to Plaintiff and Ramsey Eden via Certified
        Mail, at their last known addresses, letters noti-
        fying them that CitiFinancial had the car, that
        CitiFinancial planned to sell the car at a private
        sale, the date of the proposed sale, that they had
        a right to request a public sale, that CitiFinanc-
        ial might seek from them the deficiency after the
        sale, and that they had a right to redeem the car
        prior to the sale .

(Doc . 32, Affidavit of Thomas Jacobs, % 7, p . 3) .

        Is this sufficient? Is it even admissible ?

        The proffer is without foundation . It is unsupported .

It is conclusory . It is a statement based only on the witness'

assumption . Notice was allegedly mailed from an office located

at least a -thousand miles distant from where the witness works .

He does not say how he purports to know that notice was sent .

The notice is not signed . The witness does not say who genera-

ted nor sent the notice . There is not testimony from anyone

with recollection of it . There is not a United States Postal

Service receipt to prove posting of certified mail . Even with-

out a receipt, the Postal Service could have within a year

tracked the letter by its certification number, but the notice

does not bear a certification number . There is not evidence

that an envelope was correctly addressed . There is not evid-

ence that proper postage was affixed . There is not a record of

mailing . There is not evidence of an office routine . There is

not evidence of cross-checks to insure mailing . Another notic e



                                 -3-
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 4 of 45




which the creditor claims was posted' simultaneously was also

not delivered . (Doc . 32, Affidavit of Thomas Jacobs, Exhibit

F ; Ramsey Eden deposition, p . 52, 1 . 8 - p . 53, 1 . 5, Defend-

ant's Exhibit 7) .

        In the absence of a witness with first-hand knowledge

or corroborating documentation, the proffer could only be ad-

missible as evidence "of the routine practice of an organiza-

tion", but routine practice was not proved . Federal Rule of

Evidence 406 .

         "In order to raise the presumption of mailing, the ev-

idence must consist of more than unsupported conclusory state-

ments of an individual based on his assumption of how mail was

handled in the normal course of business in his office ." In

re : East Coast Brokers and Packers, Inc . , 961 F .2d 1543, 1545

(11th Cir . 1992 )

         Even applying the most forgiving rule of admissibility ,

a

         finding that clerical personnel performed their
         duties in properly posting the mail would be
         permissible only if there were clear testimony
         by the executive as to the customary practice
         in his office and his actions in compliance
         therewith . The problem in this case, however,
         is that [defendant's] sole witness on this
         point, [Jacobs], proffered no description of
         the office practice from which a jury properly
         could determine whether his actions were in ac-
         cord with it . He gave no indication as to who
         customarily did such basic acts as addressing,
      Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 5 of 45




         sealing, and stamping the envelopes and whether
         he could verify that [defendant] had done such
         of those as was their customary duty . . . His
         conclusory statement that 'it went out in the
         normal course of business in [the] office as
         all mail does each day' is simply not enough .
         'The essential elementary facts may be shown by
         course of business properly proved, but an of-
         fer of [such] proof . . . must be directed to
         facts and not to mere conclusions . . . While
         the [defendant] may 'show the essential facts
         constituting transmission by mail by showing
         the course of business, it failed becaus e
         there is no evidence in the record as to what
         this office routine may have been . . . 'That
         may be rather technical but the [defendant] re-
         lies upon a presumption which does not arise
         unless the evidence itself discloses' the basic
         facts underlying it .

Leasing Associates, Inc . vs . Slaughter & Son, Inc . . 450 F .2d

174, 180 (8th Cir . 1971) . See Citizens Bank and Trust Co . vs .

Allen , 43 F .2d 549 (4th Cir . 1930) .

         Georgia applies a rule of habit evidence entirely dif

ferent from the Federal Rule, but Georgia also would not admit

Mr . Jacobs' testimony .    McKenzie vs . Jackson , 82 Ga . 80, 8 S .E .

77 (1888) ; Feinberg vs . Durga,    189 Ga . App . 733, 377 S .E . 2d

33 (1988) ;   Sams vs . Gay , 161 Ga . App . 31, 288 S .E . 2d 822

(1982) ; Agnor, Agnor's Ga . Evidence , §10-18 ; Green,        Ga . Law of

Evidence , §§ 67, 68 .

         More pertinent is the Georgia substantive law of the

quality of proof of certified mailing under the Motor Vehicle

Sales Finance Act . In Pitts vs . Bank South Corp .       in

         support of its motion for summary judgment, the
         bank attached a copy of a notice of reposses-




                                   -5-
      Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 6 of 45




        sion sent to [the buyer] and the affidavit of its
        legal adjuster who testified that the notice was
        sent to [the buyer] via certified mail within ten
        days of the date of repossession . . . [T]he
        bank did not include a copy of the proof of mail-
        ing, i .e ., the certified mail receipt . The post-
        al service receipt showing that the letter was
        mailed as required by the statute does not appear
        anywhere in the record .

The appellate court considered this state of the evidence to be

"absence of any proof that the notice was sent by certified

mail" . 209 Ga . App . 124, 433 S .E . 2d 96, 97 (1993) .

        The federal tax code requires the Internal Revenue Ser-

vice to notify a taxpayer of a deficiency by certified mail .

As here, proof of actual receipt is not required . Certified

mail is proved by the appropriate Postal Service form . See

Wiley vs . United States , 20 F .3d 222 (6th Cir . 1994) ;   Keado vs .

United States , 853 F .2d 1209 (5th Cir . 1988) ;   United States vs .

Zolla , 724 F .2d 808 (9th Cir . 1984 ; Lindemood vs . Commissioner

of Internal Revenue , 566 F .2d 646 (9th Cir . 1977) ; United

States vs . Ahrends , 530 F .2d 781 (8th Cir . 1976) .

         Why would any legislature require posting, but not act-

ual receipt, by certified mail except to rely on the Postal

Service's record of having received the mail in order to prove

posting with the highest degree of confidence ?

         Even were the creditor's proffer admitted into evid-

ence, it does not prove a sufficient mailing . The creditor's

brief is silent about its own records . Those records say,

"letter sent 12/4 was returned destroyed may need to be recre-



                                 -6-
          Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 7 of 45




ated if nec ." (Requests for Admissions of Fact and Genuineness

of Documents, ¶[Q 8 and 9, p . 2, Exhibit CITI 0054, attached ;

Defendant's Responses to Plaintiff's Requests for Admissions of

Fact and Genuineness of Documents,          ~ 4[ 8 and 9, p . 5, attached) .

            A notice of a sale of repossessed personalty by a sec-

ured party mailed to a debtor by certified mail but which was

returned to the secured party stamped postage due was insuffic-

ient to comply with the Uniform Commercial Code . Before a pre-

sumption arises that a letter has been received through the

mail, it must be shown that the letter was written, was proper-

ly addressed, contained the correct postage, and was duly

mailed .     Edmondson vs . Air Service Co . , 123 Ga . App . 263, 180

S .E . 2d 589 (1971) .

(2)     Willfulness .   CitiFinancial did three things, the proof of

each of which is undisputed and each of which is "a willful vi-

olation" . OFFICIAL CODE OF GA . ANN . §10-1-38(c) :

1 . CITIFINANCIAL DID NOT ATTEMPT TO RESEND THE CERTIFIED LET-

TER .

(Requests for Admissions of Fact and Genuineness of Documents,

7[ ~ 8 and 9, p . 2, Exhibit CITI 0054, attached ; Defendant's Res-

ponses to Plaintiff's Requests for Admissions of Fact and Genu-

ineness of Documents, t[ ~ 8 and 9, p . 5, attached) .

2 . CITIFINANCIAL UNLAWFULLY CLAIMED A DEFICIENCY .

            The statute prohibits CitiFinancial to claim a defic-

iency :



                                      -7-
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 8 of 45




         When any motor vehicle has been repossessed after def-
         ault in accordance with Part 5 of Article 9 of Title
         11, the seller or holder shall not be entitled to re-
         cover a deficiency against the buyer unless within ten
         days after the repossession he forwards by registered
         or certified mail or statutory overnight delivery to
         the address of the buyer shown on the contract or lat-
         er designated by the buyer a notice of the seller's or
         holder's intention to pursue a deficiency claim ag-
         ainst the buyer . The notice shall also advise the
         buyer of his rights of redemption, as well as his
         right to demand a public sale of the repossessed motor
         vehicle .

OFFICIAL CODE OF GA . ANN . §10-1-36 .

         CitiFinancial disregarded this prohibition "and pursued

a deficiency claim against Ms . Eden" . (Doc . 28, p . 4, ¶ 7 ;

Doc . 32, p . 4, J 7) .

         It counterclaims for a deficiency . (Doc . 3) .

         Each time CitiFinancial tried "to recover a deficiency

against the buyer", it broke the law . It committed a willful

violation" . OFFICIAL CODE OF GA . ANN . §§10-1-36, 38(c) .

3 . THE NOTICE FORM IS DEFICIENT AB INITIO .

         CitiFinancial's notice form violates both the Motor Ve-

hicle Sales Finance Act and the Uniform Commercial Code . Even

had the notice been sent and received by certified mail, Citi-

Financial committed a violation .

         The Motor Vehicle Sales Finance Act requires a repos-

sessing creditor to give notice of "intention to pursue a def-

iciency claim against the buyer" . OFFICIAL CODE OF GA . ANN .

§10-1-36 .

         CitiFinancial says that it used a statutory form . i t



                                  -8-
          Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 9 of 45




did not . The U . C .C . statutory form says , " If we get less money

than you owe, you ( will or will not, as applicable )          still owe

us the difference ."      OFFICIAL CODE OF GA .    ANN . §10- 9--614(3)

( emphasis original ) .

           What does CitiFinancial ' s form say? "If we get less

money than you owe, you may still owe us the difference ."

( Doc . 32 , Exhibits E and F) .

           Their own characterization of the notice says " that Ci-

tiFinancial might seek. from them the deficiency after the

saale "_ (Doc .-32,   Affidavit' of Thomas Jacobs , n 7, p .       3) .

           This does not state "intention to pursue a deficiency

claim against the buyer ",      so CitiFinancial committed another

"willful violation" . OFFICIAL CODE OF GA . ANN . §§10-1-36,

38(c) .

           The legislative intent of the Motor Vehicle Sales Fin-

ance Act is to protect the debtor by giving him notice within

ten days of the repossession so that he might act to protect

the loss of any rights he might have .          Barnett vs . Trussell

Ford, Inc . , 129 Ga . App . 176 , 198 S .E .   2d 903 ( 1973) .

           To suggest that the creditor might or might not pursue

a deficiency lulls the buyer into activity in the hope that the

deficiency " might "    not be pursued .

                                                        *

           In the context of state securities regulation legisla-

tion, the Georgia Supreme Court says, "the term 'willfully' re--



                                     -9-
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 10 of 45




quires proof only that the defendant intended to commit the

conduct which is violative of the Act ."         Cox vs . Garvin , 278

Ga . 903, 607 S .E . 2d 549, 550 (2005) .

(3)   Repossession as transaction . A repossession is a "trans-

action" because if a creditor violates the post-repossession

notice requirements of the Motor Vehicle Sales Finance Act and

if the violation is willful, the buyer may recover the civil

remedy .    Ogletree vs . Brokers South, Inc_ , 192 Ga . App . 53, 383

S .E . 2d 900 (1989) .

(4) Availability of remedy . Ogletree vs . Brokers South, Inc . ,

192 Ga . App . 53, 383 S .E . 2d 900 ( 1989) .

(5)   Time bar .   The only case cited by CitiFinancial in opposi-

tion to Ms . Eden's motion is Doyle vs . Southern Guaranty Corp . ,

795 F .2d 907 (11th Cir . 1986) .

           The case was a claim of a violation of the interest

rate requirements of the Motor Vehicle Sales Finance Act . The

Eleventh Circuit applied the Georgia one-year statute of limit-

ation for usury .

           Some Motor Vehicle Sales Finance Act case are usury

cases . This one is not . CitiFinancial ackowledged this in its

brief when it argued that a repossession is not a "transac-

tion" . "Being limited to 'transactions,' it is apparent that

that provision applies only to violations of the MVSFA's fee

and interest caps" . (Doc . 33, p . 6) .

           The applicable limitation is twenty years for "action s



                                   -10-
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 11 of 45




for the enforcement of rights accruing to individuals under

statutes" . OFFICIAL CODE OF GA . ANN . §9-3-22 .

Conclusion . If the Court agrees that there is not evidence

that CitiFinancial gave appropriate notice under the Uniform

Commercial Code, Ms . Eden is entitled to $5443 .45 and pre-

judgment interest .

          If the Court agrees that there is not evidence that Ci-

tiFinancial gave appropriate notice by certified mail under the

Motor Vehicle Sales Finance Act, Ms . Eden is entitled to judg-

ment on the counterclaim .

          if the Court agrees that CitiFinancial willfully failed

to give appropriate notice by certified mail or if the Court

agrees that CitiFinancial's pursuit of a deficiency claim was a

violation of the statute, Ms . Eden is entitled under the Motor

Vehicle Sales Finance Act to $8329 .18 and pre-judgment inter-

est .



                                               c
                                              CHARLES BRANNON
                                              ATTORNEY FOR PLAINTIFF
                                                LYNETTE TANKERSLEY EDE N
                                              STATE BAR OF GEORGIA
                                                NUMBER 07745 0

103 valley Road, #31
Statesboro , Georgia 30458-4759
912-489-6830
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 12 of 45
                     •
                  IN THE UNI T'ED SST S DISTRICT COUP ,
                 FOR THE SOUTHERN DISTRICT OF GEORG     .y
                           STATESBORO DIVISION

LYNETTE TANKERSLEY EDEN ,

       Plaintiff ,

vs .                                       Case No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

       Defendant .


 REQUESTS FOR ADMISSIONS OF FACT AND GENUINENESS OF DOCUMENTS

         The plaintiff requests the defendant to make within 3 0

days after service of these requests each of the following ad-

missions for the purpose of this action only and subject to any

pertinent objection to admissibility which may be interposed at

trial . These requests are made under F .R .Civ .P . 34 .

                                     1 .

That the cash price under both OFFICIAL CODE OF GA . ANN . §§10-1-

38 and 11-9-625 for the subject sale was $12,788 .63 .

                                     2 .

That the time price differential under both OFFICIAL CODE OF GA .

ANN . §§10-1-38 and 11-9-625 for the subject loan was $4164 .59 .

                                     3.

That the attached document marked "P-1" is genuine .

                                     4.

That the attached document marked "P-1" is the contract which is

the subject of this civil action .




                                                                         39
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 13 of 45




                                     5.

That the subject car was a "consumer good" under OFFICIAL CODE

OF GA . ANN . §11-9-625 .

                                     6 .

That the notice mandated by OFFICIAL CODE OF GA .        ANN .   §10-1-36

was not delivered to the plaintiff .

                                     7.

That the notice mandated by OFFICIAL CODE OF GA . ANN .          §§11-9-

611,   614 was not delivered to the plaintiff .

                                     8.

That the attached document marked "CITI 0054" is genuine .

                                     9 .

That the attached document marked "CITI 0054" is an entry made

by the defendant as a memorandum of an occurrence in the regular

course of the defendant's business, and it was the regular

course of the defendant's business to make the memorandum at the

time of the occurrence .

                                    10 .

That the attached document marked "CITI 0054" records that the

Postal Service returned the defendant's attempt to comply with

OFFICIAL CODE OF GA . ANN . §§10-1-36 and 11-9-611, 614 to the de-

fendant and did not deliver the attempt to the plaintiff .
   Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 14 of 45




                               28 .

That the defendant hired Dynamic Recovery Services, Inc . to

attempt to collect the defendant's purported claim from the

plaintiff .

                                 29 .

That Dynamic Recovery Services, Inc . was a "debt collector"

under 15 U .S .C .A . §1692(a)(6) in regard to its actions pertin-

ent to this civil action .

                                 30 .

That Dynamic Recovery Services, Inc . acted as the defendant's

agent when it contacted the plaintiff .

                                 31 .

That Dynamic Recovery Services, Inc . contacted the plaintiff

August 9, 2004 .

                                 32 .

That the attached document marked "P-6" is genuine .

                                 33 .

That the sending of the attached document marked "P-6" violat-

ed the Fair Debt Collection Practices Act .

                                 34 .

That Dynamic Recovery Services, Inc . contacted the plaintiff

October 5, 2004 .
   Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 15 of 45




                                 35 .

That the attached document marked "P-7" is genuine .

                                 36 .

That the sending of the attached document marked "P-7" violat-

ed the Fair Debt Collection Practices Act .

                                 37 .

That the defendant hired Commercial Recovery Systems, Inc . to

attempt to collect the defendant's purported claim from the

plaintiff .

                                 38 .

That Commercial Recovery Systems, Inc . was a "debt collector"

under 15 U .S .C .A . §1692a(6) in regard to its actions pertinent

to this civil action .

                                 39 .

That Commercial Recovery Systems, Inc . was the defendant's

agent for the purpose of attempting to collect the defendant's

purported claim from the plaintiff .

                                  40 .

That Commercial Recovery Systems, Inc . contacted the plaintiff

February 16, 2005 .

                                  41 .

That the attached document marked        "P-8"   is genuine .

                                  42 .

That the sending of the attached document marked "P-8" violat-

ed the Fair Debt Collection Practices Act .



                                  -6-
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 16 of 45




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA,
                          STATESBORO DIVISION

LYNETTE TANKERSLEY EDEN ,

       Plaintiff ,

vs .                                       Case No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

       Defendant .



                          CERTIFICATE OF SERVIC E



        I, Charles W . Brannon, Jr ., do hereby certify that I have

 this day served the defendant Citifinancial Auto, Ltd . in this

 matter with a copy of the attached Requests for Admissions of

 Fact and Genuineness of Documents by placing it with the Unit-

 ed States Postal Service with adequate first class postag e

 thereon and addressed as follows :

 Mr . William Loeffler
 Troutman, Sanders, L .L .P .
 Suite 520 0
 Bank of America Plaz a
 600 Peachtree Street, N .E .
 Atlanta, Georgia 30308-227 6




 This twenty-first day of September, 2005 .




                                           Charles W . Brannon
                                           Attorney for plaintiff
                                           Lynette Tankersley Ede n


                                   -9-
                        Case 6:05-cv-00043-BAE
                                    Sell       Document 39 Filed 02/06/06 Page 17
                                                                    B YNETTE      of 45
                                                                               T EDEN
   I AIL-INSTALLMENT CONTRACT             CRAM PARKWAY TOYOTA                                     SEY EDE N
      AND SECURITY AGREEMENT
                                          7 PARK OF COMMERCE WAY                            294 MIMOSA ST
 No .                                     SAUPNNl1H GA 3140 5                                RICHMOND HILL Gil 3132 4
 Date MARCH 7th, cik02                      "We" and "us" mean the Seller above, its       "You" and "your" mean each Buyer above, and
                                                   successors and assigns .                        guarantor, jointly and individually .
SALE : You agree to purchase from us, on a time basis , subject to the terms and conditions of this contract and security agreement
(Contract), the Motor Vehicle (Vehicle) and services described below . The Vehicle is sold in its present condition, together with the usual
accessories and attachments .

Description of       Year      19913                 VIN 2T ; SRI2E2WCa42MSB                                      Other:
Motor Vehicle        Make      TOYOTA                Lic . No ./Yea r
Purchased            Model     CaRCLLA               ❑ New P use d

Description of
Trade- In         7391 HCNDP ACCORD 1 H(:Cc" Sf~~'A0~78F~7 8
SECURITY : To secure your payment and performance under the terms of this Contract, you give us a security interest in the Vehicle, all
accessions, attachments, accessories, and equipment placed in or on the Vehicle, together called Property, and proceeds of the Property .
You also assign to us and give us a security interest in proceeds and premium refunds of any insurance and service contracts purchased with
this Contract.
                                                                                                                -55 .
PROMISE TO PAY AND PAYMENT TERMS : You promise to pay us the principal amount of $ , plus finance
charges accruing on the unpaid balance at the rate of           45    % per year from today's date until maturity . Finance charges accrue on a
                         day basis . After maturity, or after you default and we demand payment, we will earn finance charges on the unpaid
balance at     -"         % per year . You agree to pay this Contract according to the payment schedule and late charge provisions shown in
the TRUTH IN LENDING DISCLOSURES . You also agree to pay any additional amounts according to the terms and conditions of this Contract .
❑ ADDITIONAL FINANCE CHARGE : You agree to pay an additional, nonrefundable finance charge of $                              `t` y that will b e
❑ paid in cash . ❑ added to the Cash Price . ❑ paid proportionally with each payment .
❑ MINIMUM FINANCE CHARGE : You agree to pay a minimum finance charge of $                                  °.     if you pay this Contract in ful l
before we have earned that much in finance charges .
DOWN PAYMENT : You also agree to pay, or apply to the Cash Price, on or before today's date, any cash, rebate and net trade-in value described
in the ITEMIZATION OF AMOUNT FINANCED . ❑ You agree to make deferred payments as part of the cash down payment as reflected in
your Payment Schedule
                        . TRUTH IN LENDING DISCLOSURE S
          ANNUAL                       FINANCE               AMOUNT FINANCED TOTAL OF PAYMENTS                                     TOTAL SALE PRIC E
  PERCENTAGE RATE                     CHARGE                 The amount of credit          The amount you will have The total cost of your purchase o n
  The cost of your credit as     The dollar amount the       provided to you or on         paid when you have made credit, including your down payment of
        a yearly rate .           credit will cost you .         your behalf,               all scheduled payments.            'c3 _

  Payment Schedule : Your payment schedule will b e
  Number of Payments  Amount of Payments                                                   When Payments Are Du e
             _ :.l                    ~-:3~ . ],(t         -4CNT-4 fly t       V




 Security; You are giving a security interest in the Motor Vehicle purchased .
   Late Charge: If a pa/meat is more than days late, you will be charge d
           T :- L,E S u u , .,   50 . Z0 OR a7. C7 =M': >;U E
  Prepayment : If you pay off this Contract early, you ❑ may ❑ will not have to pay a Minimum Finance Charge .
                   ❑ If you pay off this Contract early, you will not be entitled to a refund of part of the Additional Finance Charge .
 Contract Provisions : You can see the terms of this Contract for any additional information about nonpayment, default, any require d
 repayment before the scheduled date, and prepayment refunds and penalties .
CREDIT INSURANCE : Credit life, credit disability (accident and
health), and any other insurance coverage quoted below, are not                            ITEMIZATION OF AMQUNNT~FiNANCE D
required to obtain credit and we will not provide them unless you sign       Vehicle Price ( incl . sales tax W-of $ °'') $ !2190 .6-1
and agree to pay the additional premium . It you want such insurance, Service Contract, Paid to : Y                              ` $ 3 0 . 00
we will obtain it for you (if you quality for coverage) . We are quoting                                                                     Ni
below ONLY the coverages you have chosen to purchase .                       Amount to Finance line e . (if e . is negative) $
                                                                                                                                               b6
                                                                                                                    Cash Price $         i ` '
Credit Life : Insured                                                        Manufacturer's Rebate $
  ❑ Single ❑ Joint Prem . $                 t'fyA Term      N%A                                                         0
                                                                             Cash Down Payment $
Credit Disability: Insured                                                   Deferred Down Payment $                N/  A
  ❑ Single ❑ Joint Prem . $                 N/A Term        N/ l                    a . Total Cash/Rebate Down . 00$ _
                                                                                                                               1 0 0 0 .0 0
                                                                             b . Trade-In Allowance $
                                                                                                      ng $ ez5d6- is
                     pla,          •          a                              c. Less : Am
                                                                                 Paid t
                                                                                      o,   Vat          IA
                                                                                   d . Net Trade-In (b. minus c .) $                                   2
 Your signature below means you want (only) the insurance
coverage(s) quoted . above . If none are quoted, you have declined                 e . Net Cash/Trade-In (a. plus d .) $
                                                                          n ., . .,,, o-. ., ,, , ., ► ,n . ,~ .,. ..i., ..,. ., .. ern ;s .. ..-.,4;,, ., N~ 7018, 22
  Pay ment ti citedule : Your payment schedule wits be
  Nuntber of Payments Case 6:05-cv-00043-BAE
                        Amount of Payme                                          Document 39 Filed 02/06/06
                                                                                                When   Pay s Page
                                                                                                               Due 18 of 45
                                                 265 :                    MCNTHLY, BEGINNINGt RPRYL n, 200 2




 Security: You are giving a security interest in the Motor Vehicle purchased .
   Late Charge : If a payment is more than 10 - days late, you will be charged
           T E LESSOR OF 5y0 .00 OR 5% OF PMT DUE
 Prepayment: If you pay off this Contract early, you ❑ may El will not have to pay a Minimum Finance Charge .
               11 If you pay off this Contract early, you will not be entitled to a refund of part of the Additional Finance Charge .
 Contract Provisions : You can see the terms of this Contract for any additional information about nonpayment, default, any required
 repayment before the scheduled date, and prepaym ent refunds and penalties .
CREDIT INSURANCE : Credit life, credit disability (accident and                                             ITEMIZATION OF AMO .          T-FINANCE D
health), and any other insurance coverage quoted below, are not                                                                                                . n"
required to obtain credit and we will not provide them unless you sign                         Vehicle Price (ind. sales tax oL$ )$ l 2190
and agree to pay the additional premium . If you want such insurance,                          Service Contract . Paid to, wa " $ ~
we will obtain it for you (if you qualify for coverage) . We are quoting                                                                                      Ni A
below ONLY the coverages you have chosen to purchase .                                         Amount to Finance line e . (if e . is negative) $
                                                                                                                                       Cash Price $
                                                                                                                                       4 1 :-1
Credit Life : Insured                                                                          Manufacturer's Rebate $
 ❑ Single ❑ Joint Prem . $ Term                                                                Cash Down Payment $
Credit Disability: Insure d                                                                    Deferred Down Payment $
                                                                                                                                                  G3:'J .
 El Single El Joint Prem . $  Term                                                                     a . Total Cash/Rebate Down              $
                                                                                               b . Trade-In Allowance $           K .I
                                                                                               c . Less : Amount owing $
                          P'a I'll,
                                                                                                    Paid to :
                                                                                                      d . Net Trade- In (b . minus c .) $
 Your signature below means you want (only) the insurance                                             e . Net Cash/Trade-in (a . plus d.) $
coverage(s) quoted above . If none are quoted , you have declined
any coverages we offered .                                                                     Down Payment (e . : disclose as $0 if negative) $
                                                                                                                                                            a .~
                                                                                                                  Unpaid Balance of Cash Pric e
                                                                                               Paid to Public Officials - Filing Fees
Buyer d/o/b Buyer                                                                     d/o/ b   Insurance Premiums *
                                                                                               Additional Finance Charge(s), Paid to Selle r
PROPERTY INSURANCE : You must insure the Property securing
this Contract. You may purchase or provide the insurance through any                           To :
insurance company reasonably acceptable to us . The collision coverage                         To :
deductible may not exceed $                      If you get insurance                          To :
from or through us you will pay $ for                                                          To :
                                                                                                                                                          z
                                                          of coverage.                          Total Other Charges/Amounts Pd . to Others $ • . . /:w
This premium is calculated as follows:                                                                          Less : Prepaid Finance Charge s $            '
             3; Z
❑$                Deductible , Col lision Coverage $                                                                           Amount Financed
El $ Deductible , Comprehensive Cov. $                                                         `We may retain or receive a portion of this amount .
❑ Fire-Theft and Combined Additional Coverage $
r_1                                                                $
                                                                                                                NOTICE TO BUYE R
Liabili ty insurance coverage for bodily injury and proper ty                                  Do not sign this agreement before you read it or if it
damage caused to others is not included in this Contract                                       contains any blank spaces . You are entitled to an
unless checked and indicated .                                                                 exact copy of the contract you sign.
❑ 'SERVICE CONTRACT : With your purchase of the Vehicle,
                                                                                                  BY SIGNING BELOW BUYER AGREES TO THE TERMS ON
you agree t g&purch se, j.St ice, pontract to cove r
                                                                                                 PAGES 1 AND 2 OF THIS CONTRACT AND ACKNOWLEDGES
                                                                                                         RECEIPT OF A COPY OF THIS CONTRACT .
                                                 OTi Service Contract will be in
effect fo r

 ASSIGNMEN   T: This, oat t                an dSecurity       Agreement is assigned            Buyer;
     H l.!'1711h 1 !\ 1'11\                  L.1 J .                                                                                                  33      '-002
 to
the Assignee, phone                   "` . This assignment is made                             Signature                                                    Dat e
13 Ender the terms of a separate agreement. El under the terms of                                                                                    0a : th7/2002
the ASSIGNMENT BY SELLER on page 2. C1 This assignment is made
                                                                                               Signature        '°i cam' E                                  Date
with recourse
              . 03/07/2 002
Seller By Date
                                                                                               Seller: By
GEORGIA RETAIL INSTALLMENT CONTRACT AND SECURITY AGREEMENT                                                                                                 (page f of 2)

ETC      ;" ®1982, 1995 Banke rs Systems , Inc., S t. Cloud, MN Form RS-SI-MV-GA 7/5/2000                            MOTOR VEHICLE - NOT FOR MANUFACTURED HOMES
           Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 19 of 45



1L1175R DISPLAY Arcadia Financial LTD 4/27/05
AA092216 Display Account Comments 8 :53 :54
Account Nbr . 1071368301 Buyer . : LYNETTE T EDE N
Institution code 1 Co-buyer RUSSELL EDEN

User ID Create Ap p
         Date I d
ARCOPS 1/30/04 CAC CACS     :   Control   Updated   From   0   to   1
ARCOPS 1/23/0 .4 CAC CACS   :   Control   Updated   From   0   to   1
ARCOPS 1/16/04 CAC CACS     :   Control   Updated   From   0   to   1
ARCOPS 1/09/04 CAC CACS     :   Control   Updated   From   0   to   1
ARCOPS 1/02/04 CAC CACS     :   Control   Updated   From   0   to   1
ARCOPS 12/26/03 CAC CACS    :   Control   Updated   From   0   to   1
ARCOPS 12/19/03 CAC CACS    :   Control   Updated   From   0   to    1
CLUTEJ 12/17/03 TTL *Please note letter sent 12/4 was returned destroyed
                      may need to be recreated if nec .
PACKAK 12/16/03 COL Received invoice on 12/15/ 03 from American Recovery &
                      Inv, of Savannah invoice#2487 for involun repo & fuel
                      $31 5
STUBBL 12/15/03 CA 16 :55 RA O T
                      RECEIVED INVOICE #118567 FROM GLOBAL INFORMATION GROUP,
                                                                       More . . .
F3=Exit F6=New Comment F8=-Customer Info F10=Print' F12=Previous




                                                                           CITI 0054
                                         Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 20 of 45




                                                                                   A RCAD IA FINANCIAL LTD
Arcadia Financial Ltd .,
5715 Old Shakopee Road,
Bloomington , MN 5543 7                                                                                                                                                 March 17, 2004

Lynette T Eden
103 Valley Rd Apt 55
Statesboro , GA 30458-476 3

Re : Account # 107136830 1
                                                                                                                                 PW             A
Dear Lynette

We have sold the collateral securing the payment of the referenced account . This letter provides an explanation of the calculation of
the surplus or deficiency on the account resulting from such sale . If the sale resulted in a surplus on your account, the surplus will be
paid to you unless we are required to pay it to someone else . If the sale resulted in a defi ciency on the account , you may be liable for
the deficiency . The calculation is as follows :

Aggregate amount of obligations secured by the collateral as of March 10, 2004 . . . . . . . . . . . . . . . . . . . . . . . . . . . .$ 9,785 .61
(This amount includes a refund of any unearned finance charges)
Less : amount of proceeds of the disposition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . - $ 3,700 .00
Aggregate debt after deduction of sales proceeds . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ 6,085 .61
Plus : Amount of expenses , if any, incurred for repossessing, holding , preparing for disposition,
processing , and disposing of the Collateral and, if allowed by law, atto rneys fees . . . . . . . . . . . . . . . . . . . . . + S 802 .33
Less : Amount of credits you are known to be entitled to . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . - $

Amount of deficiency on the account . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$ 6,887 .94

Amount of surplus on the account . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$   .00

.Future debits, credits, charges , including additional credits service charges or interest , rebates, refunds and expenses may affect the
 amount of the surplus or deficiency.

You may obtain additional information by contacting us at (877) 200-8555 .

TO THE EXTENT YOUR OBLIGATION TO PAY THE DEFICIENCY ON THE ACCOUNT HAS BEEN DISCHARGED IN
BANKRUPTCY, OR IS SUBJECT TO AN AUTOMATIC STAY UNDER TITLE I I OF THE UNITED STATES CODE, THIS
EXPLANATION IS BEING SENT TO YOU FOR COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND DOES
NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEFICIENCY .

Except as provided in the preceding paragraph , this explanation is also an attempt to collect a debt if a deficiency exists on the account
and all information obtained from you will be used for that purpose .

 Sincerely,




ARCADIA FINANCIAL LTD .
          Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 21 of 45




Tp :             Arcadia Recovery
                 Attention: Steven Caldis
                 P.O . Box 110 0
                 Minneapolis, Minnesota 55410-1100

Re :             May 19, 2004 Letter From Steven Caldis
                 Account# 1071368301000000000 0




please refer this letter and all future correspondence to :

                 Charles W . Brannon, Esquire
                 103 Valley Road #31
                 Statesboro, Georgia 3045 8




                                          p-3
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 22 of 45




                                    103 Valley Road
                                    Unit 3 1
                                    Statesboro , Georgia 30458-4759
                                    June 30, 200 4



Steven Caldi s
Arcadia Financial, Ltd .
P .O . Box 110 0
Minneapolis , Minnesota 55440-110 0



Re : Account Number 107136830 1

Dear Sir :

     Twice prior to and a third time on April 17, 2004 you
corresponded with Ms . Lynette T . Eden, in each corespondence
saying, " If you have an attorney representing you in this matter,
please refer this letter to your attorney and provide us with
his/her name address and telephone number . "

     I replied immediately to this third letter . Subsequently
on May 19, 2004 and again on June 3, 2004 , you contacted Ms .
Eden directly .

                                    Respectfully yours ,



                                    Charles W . Brannon, Jr .




                             P-4
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 23 of 45




                                    103 Valley Road
                                    Unit 3 1
                                    Statesboro , Georgia 30458-4759
                                    July 8, 200 4



Steven Caldis
Arcadia Financial, Ltd .
P .O . Box 110 0
Minneapolis , Minnesota 55440-110 0



Re : Account Number 107136830 1

Dear Sir :

      You have now on four separate occasions corresponded with'
Ms . Lynette T . Eden, each time writing, "if you have an attor-
ney representing you in this matter, please refer this letter
to your attorney and provide us with his / her name , addres s
and telephone number ," and I have now three times responded
to your request in writing .

                                        Respectfully yours ,



                                        Charles W . Brannon, Jr .



cc : Ms .    Lynette Tankersley Ede n




                               P fa ac
                     Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 24 of 45
                                                    • DYNAMIC RECOVERY SPACES
                                                           2775 VILLA CREEK STE 29 0
                                                                           DALLAS, TEXAS 75234
                                                                               972-241-5611
                                                                              1-800 -886-808 8


    Account Number : 515211 0
                                                                                                                                                                     08/09/2004
    *****AUTO**NiD(D AADC 750 4 1 910
    LYNETTEEDEN 515211 0
    103 VALLEY RD APT 55
    STATESBORO, GA 30458-4763
    IiiIIiIIi,nInliI.I .I il . .IuII itIiIIiuii IIu .I .IuIlI .IInil

                                                                       IMPORTANT NOTICE
                                                                        PLEASE RESPOND
                                                       08/09/2004
The listed creditor has referred your account to DYNAW- C RECOVERY SERVICES, INC . for handling. Upon receiving this
formal notice, demand is hereby served upon you for payment in the amount shown below. If you have any questions, call
1-800-886-8088 IMMEDIATELY .


                                                                                                     Creditor's Statement
    LYNETTE EDEN
    103 VALLEY RD APT 55                                                               RE : ARCADIA DEFICIENCY PRIME
    STATESBORO, GA 30458-4763                                                          ACCOUNT : 10713683010000000000
                                                                                       CASE # : 515211 0
                                                                                       BALANCE: $7,415 .73




                                                                    NOTICE
                        "This is an attempt to collect a debt . Any information obtained will be used for that purpose . "
Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion
thereof, this office will assume this debt is valid . If you notify this office in writing within 30 days from receiving this notice, this
office will obtain verification of the the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification .
If you request from this office in writing within 30 days after receiving this notice, this office will provide you with the name and
address of the original creditor, if different from the current creditor . This is a communication from a debt collector.
 PD I 08/09/2004

                                         PLEASE DETACH AND RETURN THIS PORTION WITH PAYMEN T


                                                                                Name :

                                                                              i- .Address :

    RE : ARCADIA DEFICIENCY PRIME
    TOTAL NOW DUE: $7,415 .7 3
    CASE # : 515211 0
                                                                                Telephone : (                                                          -



   LYNETTE EDEN 5152110                                                              DYNAMIC RECOVERY SERVICES, INC .
   103 VALLEY RD APT 55                                                              P .O. BOX 815808
   STATESBORO, GA 30458-4763                                                         DALLAS, TX 75381-580 8
                                                                                     Iliii   l   ililiiiI   I   iliil Fii   iIIiIiI   iI .i Iu IIiiuIiuIiuIiIi   l
   PD 1 (08/09/2004)
                    Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 25 of 45
                                                   • DYNAMIC RECOVERY SER•ES
                                                         2775 VILLA CREEK STE 29 0
                                                                        DALLAS, TEXAS 75234
                                                                            972-241-5611
                                                                           1-800-886-808 8


    Account Number : 5152110
                                                                                                                                                                                    10/05/2004
    ***AUTO**ALL FOR AADC 320 7 1 1,188
    LYNETTE EDEN 515211 0
    103 VALLEY RD APT 55
    STATESBORO, GA 30458-476 3
    11111 11111111111111111111111111111 .11111111111111IIlIlll llllll

RE : ARCADIA DEFICIENCY PRIME
                                                                                                                  P-7
CASE # : 515211 0
BALANCE OWING : $7,415 .7 3

DEAR LYNETTE EDEN ,

Your account with the above referenced creditor is considered "Charged Off' or in "Default" . In reviewing the records of your
account, it has been determined that you are unable to pay your account in full as you would desire .

We would like to inform you that you have been approved for an opportunity to "Settle and Pay Off' your account for a great deal
less that you actually owe! You may save Hundreds and Possibly Thousands of dollars! Take full advantage of this
opportunity now !

However, to participate in this special program you must reply to this office within the next 21 days . Call 1-800-886-8088 and
ask for Operator 100 now! For more details and personal assistance , call now! Don't pass up this tremendous opportunity !

Respectfully ,



P" ;11 574f
NOTICE : This is an attempt to collect a debt. Any information obtained will be used for that purpose . This is a communication
from a debt collector .

S-1 10/05/2004


                                       PLEASE DETACH AND RETURN THIS PORTION WITH PAYMENT


                                                                               Name :

                                                                               Address :
    RE : ARCADIA DEFICIENCY PRIME
    TOTAL NOW DUE : $7,415 .7 3
    CASE # : 5152110
                                                                               Telephone: ( .. ... ..)



   LYNETTE EDEN 5152110 DYNAMIC RECOVERY SERVICES, INC .
   103 VALLEY RD APT 55 P .O . BOX 81580 8
   STATESBORO, GA 30458-4763 DALLAS, TX 75381-580 8
                                                                                   1111111 11   I   IIII   I   I 111 11111 I   II1   11111 I   II   I I li I   II   1 11111   111
   S-1 (10/05/2004)
    8035 East R- L.Case  6:05-cv-00043-BAE
                    Thornton                                                 Document 39 Filed 02/06/06 Page 26 of 45
  - Suite 22 0
    Dallas , TX 75228-7005                                                              Urgent G*nmunicatio n
    Add ress Service Requested

    February 16, 200 5


                                                                                         COMMERCIAL RECOVERY SYSTEMS, INC
                                                                                         8035 East R.L. Thorton, Suite 220
    PERSONAL & CONFIDENTIAL
                                                                                         P.O . Box 570909
    Lynette Eden                                               204435 5
                                                                                         Dallas, TX 75357-0909
    103 Valley Rd Apt 55                                                                 (800) 214-7801
    Statesboro, GA 30458-4763                                                            (214) 324-9575
    Ii .llilliiiiliiltlihlulnlnlluilillnulliililulilillnil                               Hours : M - F 8am-5prn, CS T

                                                                                                  ACCOUNT IDENTIFICATION
                                                                                                  RE: Arcadia Financial Ltd
                                                                                                  Account #         : 2044355
                                                                                                  Balance Owing     : $7787 .5 9
    Your account, as detailed above, has been assigned to COMMERCIAL RECOVERY SYSTEMS for collection I
    suggest that you consult with your attorney about what the laws in your state will allow our client to do to recover
    the monies owed to it and the further consequences of nonpaymen t
    Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or
    any portion thereof, this office will assume this debt is valid If you notify this office in writing within 30 days
    from receiving this notice, this office will : obtain verification of the debt or obtain a copy of a judgment and mail
    you a copy of such judgment or verification If you request this office in writing within 30 days after receiving this
    notice, this office will provide you with the name and address of the original creditor, if different from the current
    creditor. This is an attempt to collect a debt and any information obtained will be used for that purpose .
    Important information is found on the back of this notice.

    If this debt is not a valid debt of yours or if the account is included in a bankruptcy proceeding, then this notice, and
    all future notices, are null and void and you should notify us in writin g
    ,4tecj"      'W41#9       1- 800- 214- 7866
    To credit your account properly, you must include your account # on all checks and correspondence.
                                                        This communication is from a debt collector.
                     This is an attempt to collect a debt Any information obtained will be used for this purpose .

----------------------------------- Detach and Return with Payment-----------------------------------
                    Return this portion of the notice with your payment to expedite credit to your account .

Account # :          2044355               Client # :          Af12000             Balance Due:     $7787.59        Amount Enclosed:
                                                  Enter the requested information in the spaces provided below

    From Lynette Eden Employer

    Change of Address:                   Address :

    City, State, Zip : City, State, Zip:

    Telephone :              Telephone :                                                                         Ext


                                                                   2044355 - 240
         COMMERCIAL RECOVERY SYSTEMS, INC .
         P.O . Box 57090 9
         Dallas, TX 75357-0909
         Ilni lililiirlIi,IiIi liilllliti liltilltiiltliilltiiltl~tillii l


 PD1 000598A 1 445 000630 46 051576 S-CRE
    Suite 22 0
    Dallas, TX 75228-700 5
                                                  •
                        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 27 of 45
  • 8035 East RL. Thornton
                                                                                       Urgent Gonmunication

    March 19, 2005


                                                                                        COMMERCIAL RECOVERY SYSTEMS, INC
    PERSONAL & CONFIDENTIAL                                                             8035 East RL. Thorton, Suite 220
    Lynette Eden                                                                        P.O . Box 570909
                                                               204435 5
                                                                                        Dallas, TX 75357-0909
    103 Valley Rd Apt 5 5
                                                                                        (800) 214-780 1
    Statesboro, GA 30458-4763
                                                                                        (214) 324-9575
                                                   1
    IIIllulliiuil11fFlllllllllllllllilllllliuilllllll   ululllllllf                     Hours: M - F 8am-5pm, CS T

                                                                                                 ACCOUNT IDENTIFICATION
                                                                                                 RE: Arcadia Financial Ltd
                                                                                                 Balance Owing        $7787 .59
                                                                                                 Account #         : 204435 5
    We suggest that you consult with your attorney about what the laws in your state will allow our client to do to
    recover the monies owed to it and the further consequences of nonpayment

    If you wish to resolve this matter now, mail the above stated balance in the enclosed envelope or call me to discuss
    repayment of this deb t

    Yours Truly,                                                          BEGINNING BALANCE                          : $7787 .59
                                                                          TOTAL PAID TO DATE                         : $ 0. 00
                                                                          AMOUNT OF LAST PAYMENT                     : $0 .00
    ,1e 4uw      '~fa.€ f4t   1- ff00    214- 79,66                       DATE OF LAST PAYMEN T

    To credit your account properly, you mus t include your account # on all checks and correspondence .

                                                        This communication is from a debt collector.
                    This is an attempt to collect a debt Any information obtained will be used for this purpose .




------------------------------------- Detach and Return with Payment-----------------------------------
                  Return this portion of the notice with your payment to expedite credit to your accoun t

Account # :         2044355              Client # :           A- i2000           Balance Due :                   Amount Enclosed :
                                                                                                    $7787.59
                                                Enter the requested information in the spaces provided below .

    From Lynette Eden                                                                    Employer.
    Change of Address:                                                                   Address:
    City, State, Zip :                  City, State, Zip :
    Telephone:                                                                           Telephone :             Ext


                                                                 2044355 - 240
        COMMERCIAL RECOVERY SYSTEMS, INC .
        P .O. Box 570909
        Dallas, TX 75357-0909
        IfulII,I~iuI,III,IEIII~uIIlh~IfuflIflIIII,Iu,lIIIufIIFIIllIII
                                                                                                         p. 9
T-CART) nnacdRA 4 ARc onncnR Rn Oci 97F e_roc
    Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 28 of 45




                                 103 Valley Road, Unit 31
                                 Statesboro , Georgia 30458-4759
                                 February 8, 200 5

Mr . Steven Caldis
Arcadia Financial, Ltd .
P .O . Box 110 0
Minneapolis , Minnesota 55440-110 0



Re : L . Eden vs . Arcadia Financial,   Ltd .
     Your Account Number 107136830 1


Dear Mr . Caldis :

     Arcadia Financial , Ltd . has not responded to any of my
three previous letters dated June 30, 2004 , July 8, 2004 and
September 4, 2004 . What is going on? I believe that you ough t
to give this file a look .

     The violation by Arcadia Financial , Ltd . of the Georgia
Motor Vehicle Sales Finance Act of 1967 precludes it from recov-
ery on any deficiency claim . It owes Ms . Eden $8,329 .18 for its
violation of Official Code of Georgia Annotated § 10-1-38(c), the
Georgia Motor Vehicle Sales Finance Act of 1967, $5,441 .65 fo r
its violation of official Code of Georgia Annotated §11-9-625 ( c)(2),
the Uniform Commercial Code, and $1,000 .00 for its violation o f
15 United States Code § 1692k ( a)(2), the federal Fair Debt Col-
lection Practices Act .

       The earliest applicable statute of limitation is that of
the Fair Debt Collection Practices Act . It is a limitation of
one year . That limitation will soon become a factor .   I plan to
refrain from taking any further action on Ms . Eden's behalf
until at least February 18, 2005 , but plan to act to protect Ms .
Eden ' s interests after that time . I believe that you should
refer this to your claims department or legal department or to
someone familiar with Georgia law .

     Please understand that this letter is written only to give
you an opportunity to address these claims and is not intended
to be a complete statement of Ms . Eden ' s actionable claim s




                             P .IO .p.I
     Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 29 of 45




against Arcadia Financial, Ltd .

                                 Respectfully yours ,




                                 Charles W .   Brannon, Jr .
                                 State Bar of Georgia Number 07745 0



CC ., Ms . Lynette Tankersley Eden
      Dynamic Recovery Services, Inc .




                            P.
         Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 30 of 45
                          •
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA ,
                                 STATESBORO DIVISIO N
                                                                                  CL DR,!
LYNETTE TANKERSLEY EDEN ,                      )
                                                                                        so.   i1


         Plaintiff,

vs.                                                     Case No. CV605-043

CITIFINANCIAL AUTO, )
LTD.,                }

         Defendant.                 )

                   DEFENDANT ' S RESPONSES TO PLAINTIFF' S
      REQUESTS FOR ADMISSIONS OF FACT AND GENUINENESS OF DOCUMENT S

         Defendant CitiFinancial Auto, Ltd. ("CitiFinancial") responds to Plaintiff's First

Requests for Admissions of Fact an d Genuineness of Documents ("Plaintiff' s Requests") as

follows:

                                 PRELIMINARY STATEMENT

           1. The following responses are based on information presently available to

CitiFinancial, which CitiFinancial believes to be correct . Said responses are made without

prejudice to CitiFinancial's right to utilize subsequently discovered facts . CitiFinancial reserves

the ri ght to supplement its responses to Plaintiff 's Requests insofar as supplementation is

allowed or required under the Federal Rules of Civil Procedure .

           2. No incidental or implied admissions of fact by CitiFinancial are made by the

responses below . The only admissions are express admissions . The provision of any

information herein does not constitute an admission that such information is relevant to any issue

in this case or is admissible at the trial of this action . CitiFinancial specifically reserves, and

does not waive, any argument it may have in this action to the admissibility of its responses.
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 31 of 45



Further, any admission made by CitiFinancial herein is for the purpose of the pending action

only and is not an admission by it for any other purpose, nor may it be used against CitiFinanci al

in any other proceeding . The fact that CitiFinancial has answered part or all of any request is not

intended , and shall not be construed , to be a waiver of all or part of any objection to any request

made by CitiFinancial .

        3 . The objections asserted by CitiFinancial below are asserted in good faith, based

upon counsel 's evaluation of CitiFinanci al's discovery obligations under the Federal Rules of

Civil Procedure. Neve rtheless, CitiFinancial offers and stands ready to confer with Plaintiff's

counsel in an effort to resolve or narrow to the greatest extent possible any dispute between the

parties concerning CitiFinancial ' s objections .

                                     GENERAL OBJECTION S

         1 . CitiFinancial objects to Plaintiff's Requests to the extent that they call for

privileged information or documents protected by the attorney/client privilege, the work product

doctrine, or any other applicable privilege .

        2. CitiFinancial objects to Plaintiffs Requests to the extent that they seek to require

 CitiFinancial to comply with requirements beyond the scope of the Federal Rules of Civil

 Procedure .

         3. CitiFinancial objects to Plaintiff's Requests to the extent that they seek

 information or documents neither relevant to the subject matter of this action nor reasonably

 calculated to lead to the discovery of admissible evidence .

         4 . CitiFinancial objects to Plaintiff's Requests to the extent that they are overly

 broad and/or unduly burdensome .




 1552379_ 1 .DOC                              2
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 32 of 45



        5 . CitiFinancial objects to Plaintiff's Requests to the extent that they are so vague as

to be incapable of a definite response .

        6 . CitiFinancial objects to Plaintiff's Requests to the extent they seek confidential or

proprietary information or documents .

        7 . CitiFinancial objects to Plaintiff's Requests to the extent that they call for a

conclusion of law.

        CitiFinancial incorporates the foregoing General Objections into each and every response

set forth below . Subject to and without waiving the foregoing General Objections, CitiFinancial

further objects and responds to Plaintiff's Requests as follows :


Request No. 1 :

       That the cash pri ce under both OFFICIAL CODE OF GA . ANN. §§ 10- 1-38 and 11-9-
625 for the subject sale was $12,788 .63 .

RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection No . 7.

Subject to and without waiving the foregoing objections, CitiFinancial denies Request No . 1 .

Request No. 2:

       That the time price differential under both OFFICIAL CODE OF GA . ANN. §§ 10-1-38
and 11-9-625 for the subject loan was $4164 .59.

RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection No . 7.

Subject to and without waiving the foregoing objections, CitiFinancial denies Request No . 2.

Request No. 3:

        That the attached document marked "P-I" is genuine .




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          Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 33 of 45
                                                                       •
RESPONSE :

          CitiFinancial admits that the document marked "P-1" appears to be a photocopy of a

document Bates labeled CITI 0018 produced by CitiFinancial in connection with CitiFinancial's

Response to Initial Disclosure s.

Re uest No. 4:

          That the attached document marked "P-1" is the contract which is the subject of this civi l
action.

RESPONSE :

          CitiFinancial objects to this Request on the grounds stated in General Objection No . 7 .

Subject to and without waiving the foregoing objections, CitiFinancial incorporates its response

to Request No . 3 as if fully set forth herein . CitiFinancial denies that this contract " is the subject

of this civil action ." CitiFinancial understands the subject of this action to be the repossession of

the automobile financed by the contract denoted as P-1 .

Re uest No . 5:

        That the subject car was a "consumer good" under OFFICIAL CODE OF GA . ANN.
 § 11-9-625 .

RESPONSE :

           CitiFinancial objects to this request on the grounds stated in General Objection No . 7. To

 the extent any response is required, CitiFinancial denies this request .

 Request No . 6:

        That the notice mandated by OFFICIAL CODE OF GA . ANN . § 10-1-36 was not
 delivered to the plaintiff.




 1552379_1 .IOC                              4
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 34 of 45
                                                                  •
RESPONSE :

       CitiFinancial denies Request No . 6.

Request No . 7:

        That the notice mandated by OFFICIAL CODE OF GA . ANN . § 11-9-611, 614 was not
delivered to the plaintiff .

RESPONSE :

        CitiFinancial denies Request No. 7.

Request No. 8:

        That the attached document marked "CITI 0054" is genuine.

RESPONSE:

        CitiFinancial admits Request No . 8.

Request No. 9:

        That the attached document marked "CITI 0054" is an entry made by the defendant as a
memorandum of an occurrence in the regular course of the defendant's business, and it was the
regular course of the defendant's business to make the memorandum at the time of th e
occurrence.

RESPONSE :

        CitiFinancial admits Request No . 9.

Request No . 10:

        That the attached document marked "CITI 0054" records that the Postal Service returned
the defendant' s attempt to comply with OFFICIAL CODE OF GA . ANN . §§ 10- 1-36 and 11-9-
611, 614 to the defendant and did not deliver the attempt to the plaintiff .

RESPONSE :

        CitiFinancial denies Request No . 10.

Request No . 11:

        That the attached document marked "CITI 0054" was not delivered to the plaintiff .




1552379_ 1 .   DOC                            5
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 35 of 45



RESPONSE :

       CitiFinancial denies Request No . 11 .

Re uest No. 12:

      That the defendant did not make another attempt as to the plaintiff to comply with
OFFICIAL CODE OF GA . ANN . §§ 10-1-36 and 11-9-611, 614 .

RESPONSE :

        CitiFinancial denies Request No . 12.

Request No . 13 :

     That the plaintiff has not owed a deficiency or other balance to the defendant since
December 14, 2003 .

RESPONSE :

        CitiFinancial denies Request No . 13.

Request No . 14:

      That the defendant pursued a deficiency claim against the plaintiff beginning no later
than March 17, 2004 .

 RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection No . 7 . To

 the extent any response is required, CitiFinancial states that there was a deficiency upon the

 disposition of the subject automobile, that Plaintiff was properly, adequately, and lawfully

 informed of the deficiency, and that she has stubbornly and litigiously refused to pay the

 deficiency, compelling CitiFinancial to file a counterclaim in this action .

 Request No. 15:

         That the attached document marked "P-2" is genuine .

 RESPONSE :

         CitiFinancial admits that the document marked "P-2" appears to be a photocopy of a



 1552379_I .DOC                              6
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 36 of 45
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document Bates labeled CITI 0001 produced by CitiFinancial in connection with CitiFinancial's

Response to Initial Disclosures .

Request No. 16:

       That the attached document marked "P-2" is an entry made by the defendant as a
memorandum of mailing the document's original to the plaintiff in the regular course of the
defendant's business, and it was the regular course of the defendant's business to make the
memorandum at the time of mailing .

RESPONSE :

        CitiFinancial states that the referenced letter was generated, sent , and maintained in the

regular course of CitiFinancial's business .

Re nest No . 17:

         That the attached document marked "P-2" is pursuit of a deficiency claim against the
 plaintiff by the defendant .

 RESPONSE :

         CitiFinancial objects to this request on the grounds stated in General Objection No . 7. To

 the extent any further response is required, CitiFinancial states that the purpose of the referenced

 letter was to explain the amount and calculation of the deficiency Plaintiff owes to CitiFinancial .

 Request No. 18:

         That the defendant was notified in April, 2004 that a lawyer represented the plaintiff .

 RESPONSE :

         CitiFinancial denies Request No. IS.

 Request No. 19 :

         That the attached document marked "P-3" is genuine .




 1552319_1 .DOC                                7
           Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 37 of 45
                            •
RESPONSE :

       CitiFinancial denies Request No. 19.

Request No. 20:

       That the defendant was notified in May, 2004 that a lawyer represented the plaintiff .

RESPONSE :

           CitiFinancial denies Request No. 20.

Request No . 21:

           That the defendant received the attached document marked "P-3" .

RESPONSE:

           CitiFinancial denies Request No. 21 .

Request No . 22:

           That the defendant was notified June 30, 2004 that the plaintiff was represented by a
lawyer .

RESPONSE :

           CitiFinancial denies Request No. 22.

Request No. 23:

           That the attached document marked "P-4" is genuine.

RESPONSE :

           CitiFinancial denies Request No. 23.

Request No . 24:

           That the defendant received the attached document marked "P-4" .




1552379_LDOC                                       8
           Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 38 of 45



RESPONSE :

           CitiFinancial denies Request No . 24.

Request No . 25:

           That the defendant was notified July 8 , 2004 that the plaintiff was represented by a
lawyer .

RESPONSE :

           CitiFinancial denies Request No . 25.

Request No. 26:

           That the attached document marked "P-5" is genuine .

RESPONSE:

           CitiFinancial states that it is neither the author nor the sender of the document marked "P-

5 ." Therefore , CitiFinancial is without knowledge sufficient to form a belief as to the

genuineness of this document .

Request No. 27:

           That the defendan t received the attached document marked "P-5" .

RESPONSE :

           CitiFinancial denies Request No . 28.

Request No . 28:

       That the defend ant hired Dynamic Recovery Services , Inc. to attempt to collect the
defendant 's purported claim from the plaintiff.




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        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 39 of 45
                                                                        •
RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection No . 5. As

stated, CitiFinancial denies Request No . 28. CitiFinancial did refer this account to Dynamic

Recovery Services, Inc . for purposes of collection .

Request No. 29:

       That Dynamic Recovery Se rvices, Inc . was a "debt collector" under 15 U.S .C .A.
§ 1692(a)(6) in regard to its actions pertinent to this civil action .

RESPONSE :

            CitiFinancial objects to this request on the grounds stated in General Objection No . 7 .

Request No. 30:

        That Dynamic Recovery Services, Inc . acted as the defendant' s agent when it contacted
the plaintiff .

RESPONSE :

            CitiFinancial denies Request No . 30.

Request No. 31:

            That Dynamic Recovery Services, Inc . contacted the plaintiff August 9, 2004 .

RESPONSE :

            After making a reasonable inquiry, the information known or readily available to

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No . 31 .

Request No. 32:

            That the attached document marked "P-6" is genuine .




1552379_1 .DOC                             10
           Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 40 of 45



RESPONSE :

           CitiFinancial states that it is neither the author nor recipient of the document marked "P-

6 ." After making a reasonable inquiry, the information known or readily available to

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No . 32.

Request No . 33 :

       That the sending of the attached document marked "P-6" violated the Fair Debt
Collection Practices Act .

RESPONSE :

           CitiFinancial objects to this request on the grounds stated in General Objection No . 7. To

the extent any further response is required, CitiFinancial denies this request .

Request No. 34:

            That Dynamic Recovery Services, Inc . contacted the plaintiff October 5, 2004.

RESPONSE:

            After making a reasonable inquiry, the information known or readily available to

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No. 34 .

Request No. 35:

            That the attached document marked "P-7" is genuine .

RESPONSE:

            CitiFinancial states that it is neither the author nor recipient of the document marked "P-

7 ." After making a reasonable inquiry, the information known or readily available to

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No . 32 .



 1552379_1 .DOC                            11
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 41 of 45



Request No . 36:

       That the sending of the attached document marked "P-7" violated the Fair Debt
Collection Practices Act .

RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection No . 7 . To

the extent any further response is required, CitiFinancial denies this request .

Request No . 37:

       That the defendant hired Commercial Recovery Systems, Inc . to attempt to collect the
defendant's purported claim from the plaintiff.

RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection No . 5. As

stated, CitiFinancial denies Request No. 37. CitiFinancial did refer this account to Commercial

Recovery Systems, Inc . for purposes of collection .

Request No. 38:

       That Commercial Recovery Systems, Inc. was a "debt collector" under 15 U .S .C.A.
§ 1692a(6) in regard to its actions pertinent to this civil action .

RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection No . 7.

Request No . 39:

       That Commercial Recovery Systems, Inc . was the defendant's agent for the purpose of
attempting to collect the defendant's purported claim from the plaintiff .

RESPONSE :

        CitiFinancial denies Request No . 39.

Request No . 40:

        That Commercial Recovery Systems, Inc . contacted the plaintiff [on] February 16, 2005 .




 15523?9_ 1 .DOC                        12
            Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 42 of 45



RESPONSE :

           After making a reasonable inquiry, the information known or readily available t o

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No . 40.

Request No. 41:

           That the attached document marked " P-8" is genuine.

RESPONSE :

            CitiFinancial states that it is neither the author nor recipient of the document marked "P-

8." After making a reasonable inquiry, the information known or readily available to

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No . 41 .

Request No . 42:

       That the sending of the attached document marked "P-8" violated the Fair Debt
Collection Practices Act .

RESPONSE :

            CitiFinancial objects to this request on the grounds stated in General Objection No. 7 . To

the extent any further response is required, CitiFinancial denies this request.

Request No . 43:

            That Commercial Recovery Systems, Inc . contacted the plaintiff March 19, 2005 .

RESPONSE :

            After making a reasonable inquiry, the information known or readily available to

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No. 43 .




 1552379_ 1 .DOC                                     13
          Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 43 of 45



Request No . 44:

       That the attached document marked "P-9" is genuine.

RESPONSE :

          CitiFinancial states that it is neither the author nor recipient of the document marked "P-

9 ." After making a reasonable inquiry, the information known or readily available to

CitiFinancial at this time is insufficient to enable CitiFinancial to either admit or deny Request

No. 44.

Request No . 45:

       That the sending of the attached document marked "P-9" violated the Fair Debt
Collection Practices Act.

RESPONSE :

          CitiFinancial objects to this request on the grounds stated in General Objection No . 7. To

the extent any further response is required, CitiFinancial denies this request .

Request No . 46:

          That the attached document marked "P-10" is genuine .

RESPONSE :

          CitiFinancial denies Request No. 46.

Request No. 47:

          That the defendant received the attached document marked "P-10" .

RESPONSE :

          CitiFinancial denies Request No . 47.

Request No . 48:

       That the defendant reported a credit history about the plaintiff to credit reporting
agencies .




 15$237 9_ L Doc                       14
        Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 44 of 45



RESPONSE :

       CitiFinancial denies Request No . 48. CitiFinancial did furnish credit information

concerning the subject account to credit reporting agencies .

Request No . 49:

       That when the defendant reported a credit history about the plaintiff to credit reporting
agencies, each report was a publication.

RESPONSE :

        CitiFinancial objects to this request on the grounds stated in General Objection Nos . 5

and 7 . To the extent any further response is required, CitiFinancial denies this request.

Request No. 50:

       That when the defendant reported a credit history about the plaintiff to credit reporting
agencies, the defendant intended to affect the plaintiff's credit record

RESPONSE :

        CitiFinancial denies Request No. 50.


        This 21st day of October, 2005 .


                                                      A . William Loeffler
                                                      Georgia Bar No . 755699
                                                      Bryony H. Bowers
                                                      Georgia Bar No . 070393

TROUTMAN SANDERS LLP
5200 Bank of America Plaza
600 Peachtree Street, N .E.
Atlanta, Georgia 30308-221 6
(404) 885-3000                                        Counsel for Defendan t
(404) 885-3900                                        CitiFinancial Auto, Ltd.




1552379_1 .DOC                         15
       Case 6:05-cv-00043-BAE Document 39 Filed 02/06/06 Page 45 of 45




                                 CERTIFICATE OF SERVICE

       I have this day served the foregoing Defendant 's Responses to Plaintiff 's First Requests

for Admissions of Fact and Genuineness of Documents upon a ll parties by depositing a copy in

the United States Mail in a properly addressed envelope with adequate postage thereon :

               Charles W. Brannon, Jr., Esq .
               103 Valley Road, #31
               Statesboro , Georgia 30458-475 9


       This 21St day of October, 2005 .




1552379_ I . DOC                      16
